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COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


                                                                                                                      


SAN JACINTO TITLE SERVICES OF CORPUS

CHRISTI, LLC AND MARK S. SUVER, 				        Appellants,


v.
				


LIZA A. PRATT,									Appellee.

                                                                                                                      


On appeal from the 28th District Court 


of Nueces County, Texas.


                                                                                                                      


MEMORANDUM OPINION



Before Chief Justice Valdez and Justices Rodriguez and Garza 


Memorandum Opinion by Justice Rodriguez



	On February 3, 2010, appellant San Jacinto Title Services of Corpus Christi, LLC
(San Jacinto) and appellee Liza A. Pratt filed an agreed motion to dismiss San Jacinto from
this case with prejudice pursuant to a settlement between those two parties.  See Tex. R.
App. P. 42.1(a)(2), (c).  By our opinion today, we grant that motion and issue judgment
dismissing San Jacinto from the case. (1)  We also withdraw our opinion and judgment of
December 17, 2009, and substitute the following. (2)

	This appeal involves a real estate transaction between appellant Mark S. Suver and
Pratt facilitated at the offices of San Jacinto.  Plaintiff Suver appeals the trial court's
judgment, after a bench trial, in favor of defendant Pratt.  By two issues, Suver complains
that (1) the trial court erred in nullifying his ad valorem tax lien against Pratt; and (2) the
trial court failed to remove his Internal Revenue Service (IRS) tax lien on the property, on
which he intends to foreclose.  We affirm.I.  BACKGROUND

	Pratt owned a house in Corpus Christi that was infested by mold and burdened by
substantial tax liens held by both the IRS and Nueces County.  In late February 2004, on
the Thursday before the Tuesday courthouse foreclosure of her home, Pratt was
approached by Suver, who offered her an opportunity to avoid foreclosure by selling him
the house.  To remove her house from the foreclosure list, Pratt entered into an installment
payment plan with Nueces County for her delinquent ad valorem taxes. Suver agreed to
help Pratt by paying Nueces County the first installment of $3,000.  Suver and Pratt then
came to an agreement regarding the sale of the house.  By their agreement, Pratt would
seller-finance the house with a zero-percent-interest $50,000 promissory note from Suver
to Pratt.  Suver agreed to make the payments on Pratt's installment agreement with
Nueces County for the delinquent ad valorem taxes and to be ultimately responsible for the
entire amount of the delinquency.  Suver also agreed to obtain a complete release of
Pratt's obligations to the IRS.  Suver and Pratt agreed that the house would serve as
collateral for their agreement.  

	Shortly thereafter, Suver and Pratt signed a written contract for the sale of the
house, which purported to memorialize their agreement and provided for a March 15, 2004
closing.  San Jacinto escrowed the contract and agreed to conduct the closing.  Because
Suver was unable to obtain the funds to close on March 15, 2004, the closing date was
moved to March 26, 2004. 

	After the closing, Suver took possession of the closing documents.  Before recording
the documents, however, Suver altered the "Clauses and Covenants" portion of the deed
of trust by crossing out "Grantor" and handwriting in "Grantee," which effectively changed
the obligation to "pay all taxes and assessments on the property" from himself to Pratt. 
Suver then recorded the documents.

	In the year following the closing, Suver failed to make payment on the $50,000
promissory note.  He did pay all of the delinquent ad valorem property taxes and secured
a release of the IRS's lien on the house by paying $50,000 to the IRS on Pratt's behalf. 
However, the IRS is still pursuing Pratt personally for $56,102.01 in past due federal
income taxes.

	Because of his non-payment on the promissory note and failure to fulfill his promise
to obtain a complete release of all obligations Pratt has to the IRS, Pratt sent a letter to
Suver in October 2005, notifying him of her intention to sell the house in a non-judicial
foreclosure sale.  Suver filed this lawsuit in December 2005, to enjoin the foreclosure and
obtain damages for wrongful foreclosure.  The trial court granted a temporary restraining
order, and after a hearing, the trial court granted a temporary injunction enjoining the
foreclosure sale.  Pratt filed her answer and counterclaims against Suver, alleging causes
of action for breach of contract and fraud.  In September 2006, Pratt added San Jacinto
as a third-party defendant and filed claims against San Jacinto for breach of contract, fraud
and misrepresentation, negligence, negligent misrepresentation, and violations of the
Texas Deceptive Trade Practices Act.

	The case was tried to the bench in October 2007, and the trial court entered
judgment in favor of Pratt.  The judgment, in relevant part, lifted the injunction granted by
the trial court to Suver to prevent Pratt's non-judicial foreclosure on the property, reformed
the deed of trust to delete the hand-written alterations by Suver and reflect tax liens on the
property, and ordered that the defendants were jointly and severally liable to Pratt for
$55,289.23.  All other relief requested by the parties and not specifically granted by the
judgment was denied.  The trial court also issued twenty-five pages of findings of fact and
conclusions of law.  In its conclusions of law, the trial court found Suver liable for breach
of contract.

II.  STANDARD OF REVIEW

	In an appeal of a bench trial on the merits, findings of fact and conclusions of law
are specifically and meaningfully tied to appropriate standards of appellate review and are
therefore truly beneficial to appellate review.  See Chrysler Corp. v. Blackmon, 841 S.W.2d
844, 853 (Tex. 1992).  Legal and factual sufficiency of the evidence standards of review
govern an appeal of a bench trial, and accordingly, it is incumbent upon the appellant to
attack the findings by appropriate legal and factual sufficiency points of error.  Carrasco
v. Stewart, 224 S.W.3d 363, 366-67 (Tex. App.-El Paso 2006, no pet.); Serrano v. Union
Planters Bank, N.A., 162 S.W.3d 576, 580 (Tex. App.-El Paso 2004, pet. denied).  When
a party appeals from a bench trial, it must complain of specific findings and conclusions of
the trial court.  Carrasco, 224 S.W.3d at 367; see also Colmenero v. Martinez, No. 13-08-00246-CV, 2008 WL 4938277, at *4 (Tex. App.-Corpus Christi Nov. 20, 2008, pet. denied)
(mem. op.).  A general complaint against the trial court's judgment does not present a
justiciable question.  Carrasco, 224 S.W.3d at 367; see also Colmenero, 2008 WL
4938277, at *4.  Although findings of fact are not conclusive when, as in this case, a
complete reporter's record appears in the record, "unchallenged findings of fact are binding
on the appellate court unless the contrary is established as a matter of law, or if there is
no evidence to support the finding."  City of Corpus Christi v. Taylor, 126 S.W.3d 712, 717
(Tex. App.-Corpus Christi 2004, pet. withdrawn).

III.  DISCUSSIONA.  The Ad Valorem Tax Lien

	In his first issue, Suver argues that the trial court erred in nullifying his ad valorem
tax lien against Pratt.  Prior to closing, Pratt executed and Suver recorded with Nueces
County a document entitled "Affidavit of Transfer of Tax Lien."  Suver contends that the
document transferred the lien held by Nueces County to him and that, because the lien
was never properly released, the trial court erred in nullifying the document.  The premise
of Suver's argument is flawed, however.  The thrust of Suver's argument appears to be
aimed at preserving a lien related to the delinquent ad valorem taxes he alleges still exists
in his favor against Pratt.  However, in his brief, Suver expressly disclaims any challenge
to the findings of fact issued by the trial court, which we conclude were supported by the
evidence and not erroneous as a matter of law and which provide, in relevant part, that:

	20.  	Sometime prior to March 23, 2004, Suver obtained Pratt's signature
on a document titled "Affidavit of Transfer of Tax Lien," admitted at
trial as Plaintiff's Exhibit 4 ("PX-4").


		. . . .


	22.  	Suver represented to Pratt that -


		a.  	PX-4 was a document used to facilitate closing.


		b.  	PX-4 was a document used to establish to the satisfaction of
San Jacinto that an agreement had been made for payment of
the delinquent ad valorem taxes.


		. . . . 


	25.	It was never intended that PX-4 was to be used as a document to
transfer a tax lien held by Nueces County to Suver.


	26.	With respect to PX-4, the intention of Pratt and Suver was that,
effective upon closing, the terms and obligations contained in PX-4
would merge into the closing documents and no longer be effective,
as Suver was assuming the obligation to pay all taxes referenced by
PX-4.


Because we are bound by the preceding findings of the trial court, we are unpersuaded by
Suver's argument that he still holds a lien on the property in question--no lien was ever
created by the document in question.  See Taylor, 126 S.W.3d at 717 (holding that
unchallenged findings of fact are binding on the appellate court unless the contrary is
established by appellant as a matter of law or there is no evidence to support the finding). 
Suver's first issue is overruled.

B.  The IRS Tax Lien

	By his second issue, Suver appears to proclaim his intention to foreclose a lien he
supposedly holds on the property for paying $50,000 of Pratt's federal income tax
delinquency.  However, by this issue, Suver does not complain of any error by the trial
court or ask this Court for any relief.  See Pac. Employers Ins. Co. v. Dayton, 958 S.W.2d
452, 455 (Tex. App.-Fort Worth 1997, pet. denied) (holding that a mere abstract
proposition of law or general complaint is "too general and indefinite to merit our review");
see also Tex. R. App. P. 38.1(i), (j).  Finding no controversy to resolve in Suver's second
issue, we overrule it.  See Dayton, 958 S.W.2d at 455 (overruling appellant's issue where
the court was "unable to discern any specific complaint regarding any action, inaction, or
ruling of the trial court"); see also Tex. R. App. P. 47.1. 

IV.  CONCLUSION

	Having overruled Suver's issues, we affirm the judgment of the trial court.

							

								NELDA V. RODRIGUEZ

								Justice


Delivered and filed the 

4th day of March, 2010.


1. Appellant Mark S. Suver remains a party to the case and is subject to the judgment of this Court.
2. San Jacinto and Pratt's motion to dismiss indicates that the parties' settlement was not conditioned
on withdrawal of this Court's earlier opinion.  See Tex. R. App. P. 42.1(c).  Moreover, more than ten days have
passed since the filing of the motion to dismiss, and Suver has not filed a response.  See Tex. R. App. P. 10.3.

